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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 12-cv-00759-BNB
(The above civil action number must appear on all future papers
 sent to the court in this action. Failure to include this number
 may result in a delay in the consideration of your claims.)

RUSTY LEE SARVIS,

       Plaintiff,

v.

PEOPLE OF THE STATE OF COLORADO,

       Defendant.


               ORDER DIRECTING PLAINTIFF TO CURE DEFICIENCIES


       Plaintiff, Rusty Lee Sarvis, has submitted a pro se Complaint pursuant to 28

U.S.C. § 1343 and 42 U.S.C. § 1983 and a Prisoner’s Motion and Affidavit for Leave to

Proceed Pursuant to 28 U.S.C. § 1915. As part of the court’s review pursuant to

D.C.COLO.LCivR 8.2, the court has determined that the submitted document is

deficient as described in this order. Plaintiff will be directed to cure the following if she

wishes to pursue her claims. Any papers that the Plaintiff files in response to this order

must include the civil action number on this order.

28 U.S.C. § 1915 Motion and Affidavit:
(1)          is not submitted
(2)          is missing affidavit
(3)          is missing certified copy of prisoner's trust fund statement for the 6-month
             period immediately preceding this filing
(4)          is missing certificate showing current balance in prison account
(5)          is missing required financial information
(6)          is missing an original signature by the prisoner
(7)          is not on proper form (must use the court’s current form)
(8)          names in caption do not match names in caption of complaint, petition or
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              habeas application
(9)           other:                                                  .

Complaint, Petition or Application:
(10)        is not submitted
(11) X      is not on proper form (must use the court’s current form)
(12)        is missing an original signature by the prisoner
(13)        is missing page nos.
(14)        uses et al. instead of listing all parties in caption
(15)        names in caption do not match names in text
(16) X      addresses must be provided for all defendants/respondents in “Section A.
            Parties” of complaint, petition or habeas application
(17)        other:

Accordingly, it is

       ORDERED that the Plaintiff cure the deficiencies designated above within thirty

(30) days from the date of this order. Any papers which the Plaintiff files in response

to this order must include the civil action number on this order. It is

       FURTHER ORDERED that the Plaintiff shall obtain the court-approved Prisoner

Complaint form (with the assistance of his case manager or the facility’s legal assistant),

along with the applicable instructions, at www.cod.uscourts.gov. It is

       FURTHER ORDERED that, if the Plaintiff fails to cure the designated deficiencies

within thirty (30) days from the date of this order, the complaint and the action will

be dismissed without further notice. The dismissal shall be without prejudice.

       DATED March 27, 2012, at Denver, Colorado.



                                                  BY THE COURT:

                                                  s/ Boyd N. Boland
                                                  United States Magistrate Judge




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